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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                       CASE NO.      14-20555-CR-GAYLES/TURNOFF

  UNITED STATES OF AMERICA

  v.

  ANTHONY PUBLIO BOSCH,

        Defendant.
  _____________________________/


                             GOVERNMENT=S RESPONSE TO
                           THE STANDING DISCOVERY ORDER

         The United States hereby files this response to the Standing Discovery Order.        This

  response also complies with Local Rule 88.10 and Federal Rule of Criminal Procedure 16, and is

  numbered to correspond with Local Rule 88.10.

         A.     1.     The government is making available through Imaging Universe in Fort
                       Lauderdale, Florida 122 audio\video tapes which contain recordings of
                       conversations had by the defendant. An inventory of the discs is available
                       at Imaging Universe. The inventory is numbered to match the number of
                       the discs and details the date of a recording and the defendant involved in
                       the recording. Thus, the defendant can chose whether to purchase some
                       or all of the recordings.

                2.     The government is unaware of any oral statements made by the defendant
                       before or after arrest in response to interrogation by any person then
                       known to the defendant to be a government agent that the government
                       intends to use at trial.

                3.     No defendant testified before the Grand Jury.

                4.     The NCIC record of the defendants is attached.

                5.     Books, papers, documents, photographs, tangible objects, buildings or
                       places which the government intends to use as evidence at trial to prove its
                       case in chief, or were obtained or belonging to the defendant(s) may be

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                   inspected at a mutually convenient time. Please call the undersigned to
                   set up a date and time that is convenient to both parties.

                   The attachments to this discovery response are not necessarily copies of
                   all the books, papers, documents, etc., that the government may intend to
                   introduce at trial.

             6.    A number of laboratory analysis reports regarding the substances seized in
                   connection with this case are attached.

        B.         DEMAND FOR RECIPROCAL DISCOVERY: The United States
                   requests the disclosure and production of materials enumerated as items 1,
                   2 and 3 of Section B of the Standing Discovery Order. This request is
                   also made pursuant to Rule 16(b) of the Federal Rules of Criminal
                   Procedure.

        C.         The government will disclose any information or material which may be
                   favorable on the issues of guilt or punishment within the scope of Brady v.
                   Maryland, 373 U.S. 83 (1963), and United States v. Agurs, 427 U.S. 97
                   (1976).

        D.         The government will disclose any payments, promises of immunity,
                   leniency, preferential treatment, or other inducements made to prospective
                   government witnesses, within the scope of Giglio v. United States, 405
                   U.S. 150 (1972), or Napue v. Illinois, 360 U.S. 264 (1959).

        E.         The government will disclose any prior convictions of any alleged
                   co-conspirator, accomplice or informant who will testify for the
                   government at trial.

        F.         No defendant was identified in a lineup, show up, photo spread or similar
                   identification proceedings.

        G.         The government has advised its agents and officers involved in this case to
                   preserve all rough notes.

        H.         The government will timely advise the defendant of its intent, if any, to
                   introduce during its case in chief proof of evidence pursuant to F.R.E.
                   404(b). You are hereby on notice that all evidence made available to you
                   for inspection, as well as all statements disclosed herein or in any future
                   discovery letter, may be offered in the trial of this cause, under F.R.E.
                   404(b) or otherwise (including the inextricably-intertwined doctrine).

                   In addition, the government may introduce under Rule 404(b) evidence

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                      underlying the defendant's past criminal activity that has resulted in arrests
                      and/or convictions and which is summarized in the attached court
                      documents.

        I.            The defendant is an aggrieved person, as defined in Title 18, United States
                      Code, Section 2510(11), of any electronic surveillance.

        J.            The government has ordered transcribed the Grand Jury testimony of all
                      witnesses who will testify for the government at the trial of this cause.

        K.            The government will, upon defense request, deliver to any laboratory
                      presently registered with the Attorney General in compliance with 21
                      U.S.C. ' 822 and ' 823 and 21 C.F.R. 1301.13, a sufficient representative
                      sample of any alleged contraband which is the subject of this indictment to
                      allow independent chemical analysis of such sample.

                      If there is no response within ten (10) days from the date of the Certificate
                      of Service attached hereto, the bulk of the contraband/narcotics will be
                      destroyed. As usual, random samples will be set aside to be used as
                      evidence at trial.

        L.            The government does not know of any automobile, vessel, or aircraft
                      allegedly used in the commission of this offense that is in the
                      government's possession.

        M.            The government is not aware of any latent fingerprints or palm prints
                      which have been identified by a government expert as those of the
                      defendant.

        N.            To date, the government has not received a request for disclosure of the
                      subject-matter of expert testimony that the government reasonably expects
                      to offer at trial. The government intends to offer the expert testimony of
                      Holly D. Cox, Thane Campbell, and Terrence L. Boos, experts in the field
                      of chemical analysis. The curriculum vitae for each expert is available for
                      pickup at Imaging Universe.

        O.            The government will make every possible effort in good faith to stipulate
                      to all facts or points of law the truth and existence of which is not
                      contested and the early resolution of which will expedite trial. These
                      stipulations will be discussed at the discovery conference.


         The government is aware of its continuing duty to disclose such newly discovered
  additional information required by the Standing Discovery Order, Rule 16(c) of the Federal

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  Rules of Criminal Procedure, Brady, Giglio, Napue, and the obligation to assure a fair trial.

         In addition to the request made above by the government pursuant to both Section B of
  the Standing Discovery Order and Rule 16(b) of the Federal Rules of Criminal Procedure, in
  accordance with Rule 12.1 of the Federal Rules of Criminal Procedure, the government hereby
  demands Notice of Alibi defense; the approximate time, date, and place of the offense was:

                        Time: See Indictment
                        Date: See Indictment
                        Place: See Indictment

         In total, 1368 pages of discovery and 122 CDs of audio/video recordings and photographs
  have been provided to Imaging Universe. The discovery in this matter may be obtained by
  contacting Ignacio Montero at the following address:

                                          Imaging Universe
                                      3350 S.W. 3rd Ave. Ste. 6
                                     Fort Lauderdale, FL 33315
                                       (954) 468-8442 Office
                                         (954) 468-1950 Fax

         Please contact the undersigned Assistant United States Attorney if there are problems
  obtaining any of the discovery.


                                                       Respectfully submitted,

                                                       WIFREDO A. FERRER
                                                       UNITED STATES ATTORNEY


                                                 By:    s/ Sharad A. Motiani
                                                       Sharad A Motiani
                                                       Assistant United States Attorney
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                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing was filed without

  attachment using CM/ECF.

                                                  s/ Sharad A. Motiani
                                                 Assistant United States Attorney




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